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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )         Docket No. 4:08CR3148
           v.                        )
                                     )
ROSE A. LAUTENSCHLAGER,              )
                                     )                   ORDER
                Defendant.           )
                                     )



     IT IS ORDERED:

     1. Defendant’s motion to continue, filing no. 129, is
granted and the change of plea hearing is continued from today to
March 17, 2009 at 1:00 p.m. before the undersigned magistrate
judge in Courtroom 2, United States Courthouse and Federal
Building, 100 Centennial Mall North, Lincoln, Nebraska.

     2. The ends of justice will be served by granting such a
motion, and outweigh the interests of the public and the
defendant in a speedy trial, and the additional time arising as a
result of the granting of the motion, the time between today’s
date and the anticipated plea of guilty, shall be deemed
excludable time in any computation of time under the requirements
of the Speedy Trial Act, for the reason that defendant’s counsel
requires additional time to adequately prepare the case, taking
into consideration due diligence of counsel, the novelty and
complexity of the case, and the fact that the failure to grant
additional time might result in a miscarriage of justice.
18 U.S.C. § 3161(h)(8)(A) & (B).

     3.   Defendant shall appear at the hearing.

     DATED: February 10, 2009.

                                    BY THE COURT:


                                    S/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
